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 4
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 7
 8                                 UNITED STATES DISTRICT COURT
 9                                EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA             )                CASE NO. 2:04-cr-0069-MCE
                                          )
12               Plaintiff,               )
                                          )
13         v.                             )                STIPULATION AND ORDER
                                          )                RE: SCHEDULING
14   LARRY WELLS and                      )
     JEFFREY WELLS,                       )                Date: February 13, 2007
15                                        )                Time: 8:30 a.m.
                 Defendants.              )
16    ___________________________________ )
17
18            With the Court’s permission, defendants LARRY WELLS and the UNITED STATES OF
19   AMERICA, by and through their undersigned counsel, do hereby stipulate and agree to continue
20   their sentencing date, presently set for February 13, 2007 at 8:30 a.m., to March 13, 2007 at 8:30
21   a.m.
22            Informal objections to the Pre-Sentence Report will be due to the Probation Office on or
23   before February 20, 2007.
24   //
25   //
26   //
27   //
28   //
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 1          The Final Pre-Sentence Report will be due to the Court on or before February 27, 2007.
 2          Formal objections to the Pre-Sentence Report will be due to the Court on or before March
 3   6, 2007.
 4
 5 DATED: February 8, 2007                     /s/ William J. Portanova
                                               WILLIAM J. PORTANOVA
 6                                             Attorney for Defendant LARRY WELLS
 7
 8 DATED: February 8, 2007                     /s/ Stephen R. Lapham
                                               STEPHEN R. LAPHAM or
 9                                             MATTHEW SEGAL
                                               Assistant United States Attorney
10
11
     IT IS SO ORDERED.
12
13
14   Dated: February 12, 2007

15                                              ________________________________
                                                MORRISON C. ENGLAND, JR.
16                                              UNITED STATES DISTRICT JUDGE
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